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-=*f       h-{fri- of cfr dy octi Am, rucr cu r,l*/,rg. fr
eGtPtIIy ckaaizad s'6+teruord'a*ictqgs, ad irchdiqg ymr dirut'r ama6
nrdcF{pmdi00tLctuGthc cscrer-rtgc                     u   of   |bFldErl Br|!| ofckiriurt
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